Case: 1:23-cv-00631-BMB Doc #: 40-6 Filed: 04/23/24 1 of 10. PageID #: 1247




                         Exhibit E
                     Case: 1:23-cv-00631-BMB Doc #: 40-6 Filed: 04/23/24 2 of 10. PageID #: 1248




                                                    EXHIBIT E
                                 Disputed Terms Highlighted
                                              Group A Terms in the 10,174,870 Patent
                                                  secured to, coupled to/to couple
Claim Claim Text
No.
1     A hose comprising:
      a flexible elongated outer tube constructed from a fabric material having a first end and a second end, an interior of said outer
      tube being substantially hollow, said flexible elongated outer tube having a maximal length and a maximal diameter;
      a flexible elongated inner tube having a first end and a second end, an interior of said inner tube being substantially hollow,
      said inner tube being formed of an elastic material, said elastic inner tube having a relaxed length when said inner tube is not
      being stretched, said inner tube relaxed length being substantially less than said outer tube maximal length;
      a first coupler secured to said first end of said inner and said outer tubes, said first coupler constructed to couple said hose to
      a source of pressurized liquid;
      a second coupler secured to said second end of said inner and said outer tubes, said inner and outer tubes unsecured between
      said first and second ends so that said outer tube is not held in frictional contact with said inner tube so that said outer tube
      can move freely along said inner tube; and
      a flow restrictor coupled to said second coupler,
      whereby upon introduction of a flow of pressurized liquid through said first coupler into said inner tube and operation of said
      flow restrictor to at least partially block said flow of pressurized liquid from exiting said inner tube, said inner tube fills with
      pressurized liquid resulting in an increase in fluid pressure within said inner tube interior, said increase in fluid pressure
      expands said inner tube longitudinally along a length of said inner tube and laterally across a width of said inner tube thereby
      increasing said hose to an expanded condition, and whereby stopping said flow of pressurized liquid into said first coupler
      and releasing said pressurized liquid out of said second coupler results in said hose contracting to a decreased length as a
      result of the automatic contraction of the elastic inner tube.
5     The hose of claim 1 including a first restrictor sleeve secured to said first end of said inner and said outer tubes, and a second
      restrictor sleeve secured to said second end of said inner and said outer tubes,



                                                                   1
                     Case: 1:23-cv-00631-BMB Doc #: 40-6 Filed: 04/23/24 3 of 10. PageID #: 1249




        whereby said first and second restrictor sleeves provide a gradual transition of the laterally outward expansion of said inner
        tube when there is an increase in pressurized liquid within said inner tube interior between said first coupler and said second
        coupler.
11      The hose of claim 1 wherein said flow restrictor is a nozzle which is removeably secured to said hose.


                                              Group A Terms in the 10,890,278 Patent
                                                  secured to, coupled to, to couple
Claim Claim Text
No.
1     A garden hose comprising:
      a flexible elongated outer tube constructed from a fabric material having a first end and a second end, an interior of said outer
      tube being substantially hollow, said flexible elongated outer tube having a maximal length;
      a flexible elongated elastic inner tube having a first end and a second end, an interior of said inner tube being substantially
      hollow, said elastic inner tube having a relaxed length when said inner tube is not extended, said inner tube relaxed length
      being less than said outer tube maximal length;
      a first coupler secured to said first end of said inner tube and said outer tube, said first coupler constructed to couple said
      hose to a conventional facet thereby providing pressurized water;
      a second coupler secured to said second end of said inner tube and said outer tube, said inner tube is unsecured to said outer
      tube between said first and second ends so that said outer tube outer tube can move freely over said inner tube; and
      a flow restrictor coupled to said second coupler,
      whereby upon introduction of a flow of pressurized water through said first coupler into said inner tube and operation of said
      flow restrictor to at least partially block said flow of pressurized water from exiting said inner tube, said inner tube fills with
      pressurized water resulting in an increase in water pressure within said inner tube interior, said increase in water pressure
      expands said inner tube longitudinally along a length of said inner tube and laterally across a width of said inner tube thereby
      increasing said hose to an expanded condition, and whereby stopping said flow of pressurized water into said first coupler
      and releasing said pressurized water out of said second coupler results in said hose contracting to a decreased length as a
      result of an automatic contraction of said elastic inner tube.

5       The garden hose of claim 1 including a first restrictor sleeve secured to said first end of said inner and said outer tubes, and a
        second restrictor sleeve secured to said second end of said inner and said outer tubes,




                                                                   2
                     Case: 1:23-cv-00631-BMB Doc #: 40-6 Filed: 04/23/24 4 of 10. PageID #: 1250




        whereby said first and second restrictor sleeves provide a gradual transition of the laterally outward expansion of said inner
        tube when there is an increase in pressurized water within said inner tube interior between said first coupler and said second
        coupler.
11      The garden hose of claim 1 wherein said flow restrictor is a nozzle which is removeably secured to said hose.


                                              Group A Terms in the 11,608,915 Patent
                                                  secured to, coupled to, to couple
Claim Claim Text
No.
1     A garden hose comprising:
      a flexible outer tube having a first end and a second end, said flexible outer tube having a substantially hollow interior, said
      flexible outer tube having a maximal length;
      a flexible inner tube having a first end and a second end, said flexible inner tube having a substantially hollow interior, said
      flexible inner tube having a relaxed length when said flexible inner tube is not in an extended condition, said relaxed length
      of said flexible inner tube being less than said maximal length of said flexible outer tube;
      a first coupler secured to said first end of said flexible inner tube and said flexible outer tube, said first coupler adapted to
      couple said hose to a conventional faucet thereby providing pressurized water;
      a second coupler secured to said second end of said flexible inner tube and said flexible outer tube, said flexible inner tube
      unsecured to said flexible outer tube between said first and second ends so that said flexible outer tube can move freely over
      said flexible inner tube; and
      a flow restrictor adapted to couple to said second coupler,
      whereby upon introduction of a flow of pressurized water through said first coupler into said flexible inner tube and
      operation of said flow restrictor to at least partially block said flow of pressurized water from exiting said flexible inner tube,
      said flexible inner tube fills with pressurized water resulting in an increase in water pressure within said interior of said
      flexible inner tube, said increase in water pressure expands said inner tube longitudinally along a length of said flexible inner
      tube and laterally across a width of said flexible inner tube thereby expanding said hose to an expanded condition, and
      whereby stopping said flow of pressurized water into said first coupler and releasing said pressurized water out of said
      second coupler results in said hose contracting to a contracted condition as a result of an automatic contraction of said
      flexible inner tube.




                                                                   3
                 Case: 1:23-cv-00631-BMB Doc #: 40-6 Filed: 04/23/24 5 of 10. PageID #: 1251




4    The garden hose of claim 1 including a first restrictor sleeve secured to said first end of said flexible inner tube and said
     flexible outer tube, and a second restrictor sleeve secured to said second end of said flexible inner tube and said flexible outer
     tube,
     whereby said first and second restrictor sleeves provide a gradual transition of a laterally outward expansion of said flexible
     inner tube when there is an increase in pressurized water within said interior of said flexible inner tube between said first
     coupler and said second coupler.
10   The garden hose of claim 1 wherein said flow restrictor is a nozzle which is removeably secured to said hose.




                                                               4
                      Case: 1:23-cv-00631-BMB Doc #: 40-6 Filed: 04/23/24 6 of 10. PageID #: 1252




                                                  Group B Terms in the 10,174,870 Patent
  said inner and outer tubes unsecured between said first and second ends so that said outer tube is not held in frictional contact with
                                said inner tube so that said outer tube can move freely along said inner tube
Claim        Claim Text
No.
1            A hose comprising:
             a flexible elongated outer tube constructed from a fabric material having a first end and a second end, an interior of said
             outer tube being substantially hollow, said flexible elongated outer tube having a maximal length and a maximal
             diameter;
             a flexible elongated inner tube having a first end and a second end, an interior of said inner tube being substantially
             hollow, said inner tube being formed of an elastic material, said elastic inner tube having a relaxed length when said inner
             tube is not being stretched, said inner tube relaxed length being substantially less than said outer tube maximal length;
             a first coupler secured to said first end of said inner and said outer tubes, said first coupler constructed to couple said hose
             to a source of pressurized liquid;
             a second coupler secured to said second end of said inner and said outer tubes, said inner and outer tubes unsecured
             between said first and second ends so that said outer tube is not held in frictional contact with said inner tube so that said
             outer tube can move freely along said inner tube; and
             a flow restrictor coupled to said second coupler,
             whereby upon introduction of a flow of pressurized liquid through said first coupler into said inner tube and operation of
             said flow restrictor to at least partially block said flow of pressurized liquid from exiting said inner tube, said inner tube
             fills with pressurized liquid resulting in an increase in fluid pressure within said inner tube interior, said increase in fluid
             pressure expands said inner tube longitudinally along a length of said inner tube and laterally across a width of said inner
             tube thereby increasing said hose to an expanded condition, and whereby stopping said flow of pressurized liquid into
             said first coupler and releasing said pressurized liquid out of said second coupler results in said hose contracting to a
             decreased length as a result of the automatic contraction of the elastic inner tube.




                                                                     5
                     Case: 1:23-cv-00631-BMB Doc #: 40-6 Filed: 04/23/24 7 of 10. PageID #: 1253




                                                  Group B Terms in the 10,890,278 Patent
  said inner tube is unsecured to said outer tube between said first and second ends so that said outer tube can move freely over said
                                                                   inner tube
Claim Claim Text
No.
1        A garden hose comprising:
         a flexible elongated outer tube constructed from a fabric material having a first end and a second end, an interior of said outer
         tube being substantially hollow, said flexible elongated outer tube having a maximal length;
         a flexible elongated elastic inner tube having a first end and a second end, an interior of said inner tube being substantially
         hollow, said elastic inner tube having a relaxed length when said inner tube is not extended, said inner tube relaxed length
         being less than said outer tube maximal length;
         a first coupler secured to said first end of said inner tube and said outer tube, said first coupler constructed to couple said
         hose to a conventional facet thereby providing pressurized water;
         a second coupler secured to said second end of said inner tube and said outer tube, said inner tube is unsecured to said outer
         tube between said first and second ends so that said outer tube outer tube can move freely over said inner tube; and
         a flow restrictor coupled to said second coupler,
         whereby upon introduction of a flow of pressurized water through said first coupler into said inner tube and operation of said
         flow restrictor to at least partially block said flow of pressurized water from exiting said inner tube, said inner tube fills with
         pressurized water resulting in an increase in water pressure within said inner tube interior, said increase in water pressure
         expands said inner tube longitudinally along a length of said inner tube and laterally across a width of said inner tube thereby
         increasing said hose to an expanded condition, and whereby stopping said flow of pressurized water into said first coupler
         and releasing said pressurized water out of said second coupler results in said hose contracting to a decreased length as a
         result of an automatic contraction of said elastic inner tube.




                                                                    6
                     Case: 1:23-cv-00631-BMB Doc #: 40-6 Filed: 04/23/24 8 of 10. PageID #: 1254




                                                 Group B Terms in the 11,608,915 Patent
  said flexible inner tube unsecured to said flexible outer tube between said first and second ends so that said flexible outer tube can
                                                  move freely over said flexible inner tube
Claim Claim Text
No.
1        A garden hose comprising:
         a flexible outer tube having a first end and a second end, said flexible outer tube having a substantially hollow interior, said
         flexible outer tube having a maximal length;
         a flexible inner tube having a first end and a second end, said flexible inner tube having a substantially hollow interior, said
         flexible inner tube having a relaxed length when said flexible inner tube is not in an extended condition, said relaxed length
         of said flexible inner tube being less than said maximal length of said flexible outer tube;
         a first coupler secured to said first end of said flexible inner tube and said flexible outer tube, said first coupler adapted to
         couple said hose to a conventional faucet thereby providing pressurized water;
         a second coupler secured to said second end of said flexible inner tube and said flexible outer tube, said flexible inner tube
         unsecured to said flexible outer tube between said first and second ends so that said flexible outer tube can move freely over
         said flexible inner tube; and
         a flow restrictor adapted to couple to said second coupler,
         whereby upon introduction of a flow of pressurized water through said first coupler into said flexible inner tube and
         operation of said flow restrictor to at least partially block said flow of pressurized water from exiting said flexible inner tube,
         said flexible inner tube fills with pressurized water resulting in an increase in water pressure within said interior of said
         flexible inner tube, said increase in water pressure expands said inner tube longitudinally along a length of said flexible inner
         tube and laterally across a width of said flexible inner tube thereby expanding said hose to an expanded condition, and
         whereby stopping said flow of pressurized water into said first coupler and releasing said pressurized water out of said
         second coupler results in said hose contracting to a contracted condition as a result of an automatic contraction of said
         flexible inner tube.




                                                                    7
                         Case: 1:23-cv-00631-BMB Doc #: 40-6 Filed: 04/23/24 9 of 10. PageID #: 1255




                                                      Group C1 Terms in the 10,174,870 Patent
      a first restrictor sleeve secured to said first end of said inner and said outer tubes / a second restrictor sleeve secured to said second
                                                         end of said inner and said outer tubes
    Claim Claim Text
    No.
    5         The hose of claim 1 including a first restrictor sleeve secured to said first end of said inner and said outer tubes, and a second
              restrictor sleeve secured to said second end of said inner and said outer tubes, whereby said first and second restrictor sleeves
              provide a gradual transition of the laterally outward expansion of said inner tube when there is an increase in pressurized
              liquid within said inner tube interior between said first coupler and said second coupler.

                                                       Group C Terms in the 10,890,278 Patent
      a first restrictor sleeve secured to said first end of said inner and said outer tubes / a second restrictor sleeve secured to said second
                                                         end of said inner and said outer tubes
    Claim Claim Text
    No.
    5         The garden hose of claim 1 including a first restrictor sleeve secured to said first end of said inner and said outer tubes, and a
              second restrictor sleeve secured to said second end of said inner and said outer tubes, whereby said first and second restrictor
              sleeves provide a gradual transition of the laterally outward expansion of said inner tube when there is an increase in
              pressurized water within said inner tube interior between said first coupler and said second coupler.

                                                      Group C Terms in the 11,608,915 Patent
       a first restrictor sleeve secured to said first end of said flexible inner tube and said flexible outer tube / a second restrictor sleeve
                                  secured to said second end of said flexible inner tube and said flexible outer tube
    Claim Claim Text
    No.
    4         The garden hose of claim 1 including a first restrictor sleeve secured to said first end of said flexible inner tube and said
              flexible outer tube, and a second restrictor sleeve secured to said second end of said flexible inner tube and said flexible outer
              tube, whereby said first and second restrictor sleeves provide a gradual transition of a laterally outward expansion of said
              flexible inner tube when there is an increase in pressurized water within said interior of said flexible inner tube between said
              first coupler and said second coupler.


1
    Claims referenced by dependence omitted.
                                                                        8
                         Case: 1:23-cv-00631-BMB Doc #: 40-6 Filed: 04/23/24 10 of 10. PageID #: 1256




                                                     Group D2 Terms in the 10,174,870 Patent
     a first securing device securing said first restrictor sleeve, said outer tube, and said inner tube to said first coupler / a second securing
                device securing said another expansion restrictor sleeve, said outer tube, and said inner tube to said second coupler
    Claim Claim Text
    No.
    7         The hose of claim 5 including a first securing device securing said first restrictor sleeve, said outer tube, and said inner tube
              to said first coupler, and a second securing device securing said another expansion restrictor sleeve, said outer tube and said
              inner tube to said second coupler.


                                                     Group D Terms in the 10,890,278 Patent
     a first securing device securing said first restrictor sleeve, said outer tube, and said inner tube to said first coupler / a second securing
                device securing said another expansion restrictor sleeve, said outer tube, and said inner tube to said second coupler
    Claim Claim Text
    No.
    7         The garden hose of claim 5 including a first securing device securing said first restrictor sleeve, said outer tube, and said
              inner tube to said first coupler, and a second securing device securing said another expansion restrictor sleeve, said outer tube
              and said inner tube to said second coupler.


                                                      Group D Terms in the 11,608,915 Patent
     a first securing device securing said first restrictor sleeve, said flexible outer tube, and said flexible inner tube to said first coupler / a
      second securing device securing said second expansion restrictor sleeve, said flexible outer tube, and said flexible inner tube to said
                                                                     second coupler
    Claim Claim Text
    No.
    6         The garden hose of claim 4 including a first securing device securing said first restrictor sleeve, said flexible outer tube, and
              said flexible inner tube to said first coupler, and a second securing device securing said second expansion restrictor sleeve,
              said flexible outer tube and said flexible inner tube to said second coupler.




2
    Claims referenced by dependence omitted.
                                                                          9
